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                  17IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION                                             ENTERED
                                                                                            08/05/2019
IN RE:                                         §
                                               §       CASE NO: 19-33769
TERRI JENKINS                                  §       CHAPTER 13
                                               §
         Debtor(s).                            §       DAVID R. JONES

                                           ORDER
                                        (Docket No. 17)

      1.      The deadline to file all the documents required by 11 U.S.C. § 521 is extended to
August 14, 2019.


       SIGNED: August 5, 2019.


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                                                DAVID R. JONES
                                                UNITED STATES BANKRUPTCY JUDGE




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